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                             UNITED STATES DISTRICT COURT
                                           For the
                                  District of New Mexico

UNITED STATE OF AMERICA                      )
                                             )
               Plaintiff,                    )       Case No. 1084 5:17CR03501-001 KG
                                             )                     5:17CR03502-002 KG
Vs.                                          )                     5:17CR03503-003 KG
                                             )                     5:17CR03504-004 KG
                                             )
JESUS SANCHEZ                                )
                                             )
               Defendant.                    )

                      MOTION FOR SUBSTITUTION OF ATTORNEY

       COMES NOW Defendant, by and through his counsel, JASSO & JASSO LAW FIRM,

LLC, by Ricardo Jasso, and moves the Court for a Consent Order Granting Substitution of

Attorney, and in support, states:

       1. Defendant has retained the services of JASSO & JASSO LAW FIRM, LLC,

(Ricardo Jasso) and requests that he be substituted for Pedro Pineda in this matter.

       2. Defendant’s former counsel, Pedro Pineda, has been contacted and does not object to

this Motion.

       WHEREFORE Defendant prays that the Court enter its Consent Order Granting

Substitution of Attorney, and for such other relief as the Court deems just and proper.

                                                     JASSO & JASSO LAW FIRM, LLC.

                                                      \s\ Ricardo Jasso (11-18-22)
                                                     Ricardo Jasso
                                                     Frank Jasso
                                                     522 W. Broadway
                                                     Hobbs NM 8824
                                                     (575) 942-1303
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                                                     Attorneys for Defendant


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                               CERTIFICATE OF SERVICE

       I CERTIFY that on this 18th day of November 2022, a true and correct copy of the
Motion for Substitution of Attorney was electronically filed with the Court using the E-Filing
System, which sent notification to all parties of interest (Devon Marie Aragon Martinez; Pedro
Pineda; and Ricardo Jasso) participating in the E-Filing System.

                                                    \s\ Ricardo Jasso (11-18-22)




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